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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       Case No:
                                             :
               v.                            :       VIOLATION:
                                             :
DEALLTO DAVIS,                               :        18 U.S.C. § 1344
                                             :       (Bank Fraud)
               Defendant.                    :
                                             :       FILED UNDER SEAL


               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Joshua Huckel, being first duly sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a criminal Complaint charging DEALLTO

DAVIS (“DAVIS”) with Bank Fraud, in violation of 18 U.S.C. § 1344. I respectfully submit that

the Affidavit establishes probable cause to believe that DAVIS participated in a scheme to defraud

Wells Fargo. I request that the Court issue an arrest warrant for DAVIS, pursuant to Federal Rule

of Criminal Procedure 4(a).

                                BACKGROUND OF AFFIANT

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), United States

Department of Justice, and have been so employed since February 2010. As a Special Agent with

the FBI, I am authorized to investigate crimes involving violations of federal law. I am assigned to

a white collar crime squad at the Northern Virginia Resident Agency of the Washington Field

Office, in Manassas, Virginia. I have participated in numerous criminal investigations to include

violations related to wire fraud, conspiracy, money laundering, and other related federal violations

of Title 18 of the United States Code. I have training and experience in the enforcement of the laws



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of the United States, including the preparation and presentation of affidavits in support of criminal

complaints.

       3.      The facts and information contained in this Affidavit are based on my personal

knowledge and observations, information provided to me by others involved in the investigation,

and a review of documents and records. This Affidavit does not contain each and every fact known

to the government. It contains only those facts necessary to support a finding of probable cause for

a Complaint. The dates listed in the Affidavit should be read as “on or about” dates.

                            SUMMARY OF THE INVESTIGATION

       4.      The FBI has been investigating a scheme to defraud Wells Fargo. Wells Fargo is a

financial institution within the meaning of 18 U.S.C. § 20. Wells Fargo’s deposits are insured by

the Federal Deposit Insurance Corporation.

       5.      The scheme involves individuals opening accounts at Wells Fargo and individuals

then depositing checks through Wells Fargo ATMs into the recently opened Wells Fargo accounts.

None of the deposited checks were honored by the issuing bank.

       6.      While making these deposits, the individuals placed their fingers on the ATM check

scanner so that the ATMs were unable to read the checks. The act of placing one’s fingers over the

ATM scanner created a “jam.” In this context, a jam means that the check image cannot be read by

the ATM.

       7.      A jam caused the ATMs to prompt the individuals making the sham deposits to

manually enter the amount of the checks. Funds were often credited to the accounts before Wells

Fargo discovered the fraud. Participants in the scheme took advantage of this lag time by spending

or transferring the credited funds.




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               STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

                               Davis’s Participation in the Scheme

         8.    DAVIS participated in the scheme by creating “jams” in Wells Fargo ATMs.

DAVIS created the jams by first inserting a check into an ATM and then placing his fingers inside

the slot on the ATM where the scanner reads the information contained on the check. By virtue of

creating a jam, the ATM prompted DAVIS to manually input, or key in, a deposit amount for the

check.

         9.    The checks that DAVIS deposited were ultimately dishonored by the issuing bank.

However, in some cases, any hold that Wells Fargo placed on the deposited checks expired before

Wells Fargo discovered the fraud. Once the hold expired, Wells Fargo credited the accounts for

the manually entered deposit amounts. The lag time between the crediting of the accounts and the

discovery of the fraud caused artificially inflated balances in the accounts.

         10.   The account holders, or others associated with the account, took advantage of this

lag time by conducting or attempting to conduct (or causing others to conduct or attempt to conduct)

financial transactions to access the inflated balances. The types of transactions conducted included

Venmo transfers, checks drawn from the accounts, debit card transactions, and ATM withdrawals.

For example, funds credited to accounts from DAVIS’s check deposits were used to purchase airline

and train tickets, pay for Uber, and make point-of-sale purchases at retailers, such as AutoZone,

Amazon, and Benihana.

         11.   DAVIS used Wells Fargo ATMs to deposit checks totaling approximately $390,000

into various Wells Fargo accounts. None of these accounts were in DAVIS’s name. In fact, DAVIS

does not maintain an account at Wells Fargo. The account holders, or someone acting on their

behalf, successfully conducted approximately $135,000 in financial transactions with the credited



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funds before Wells Fargo discovered the fraud.

                               Davis’s Execution of the Scheme

       12.     The following table provides information about 24 ATM transactions in which

DAVIS executed the scheme, as described above, by depositing a check, “jamming” the ATM, and

then manually inputting a deposit amount. Wells Fargo credited some of these false deposits to

the accounts before it discovered the fraud. Ten of the 24 false deposits comprising the scheme

were executed in Washington, D.C.

                       Account         Date of
 Account     Account   Opening         Counterfeit     Deposit
 Holder      Ending    Date            Deposit         Amount          Location of Deposit
 C.N.        0252      01/06/2018      02/09/2018      $9,142.15       Largo, Maryland
 J.H.        3095      01/17/2018      02/20/2018      $9,132.15       Annapolis, Maryland
 K.G.        8820      01/22/2018      02/20/2018      $9,315.15       Bowie, Maryland
 S.N.        2150      02/05/2018      02/22/2018      $9,132.24       Washington, D.C.
 N.S.        3205      01/19/2018      02/27/2018      $24,990.00      Washington, D.C.
 S.N.        2150      02/05/2018      02/27/2018      $23,215.89      Washington, D.C.
 N.J.        2783      02/28/2018      02/28/2018      $24,975.00      Washington, D.C.
 J.H.        0410      03/01/2018      03/05/2018      $24,607.00      Annapolis, Maryland
 M.K.        0352      02/26/2018      03/06/2018      $26,589.90      Washington, D.C.
 S.S.        3099      03/01/2018      03/06/2018      $22,289.89      Washington, D.C.
 D.W.        7457      03/05/2018      03/06/2018      $35,900.54      Washington, D.C.
 B.T.        2966      03/02/2018      03/06/2018      $23,789.00      Washington, D.C.
 D.E.        5977      03/05/2018      03/06/2018      $23,946.00      Arlington, Virginia
 D.K.        3247      03/13/2018      03/15/2018      $8,500.65       McLean, Virginia
 D.F.        2628      03/03/2018      03/18/2018      $9,434.59       Washington, D.C.
 Q.D.        8058      03/12/2018      03/19/2018      $8,971.23       Washington, D.C.
 R.R.        8307      03/06/2018      03/20/2018      $9,752.81       Annapolis, Maryland
 T.K.        3588      03/19/2018      03/20/2018      $9,134.48       Annapolis, Maryland
 S.L.        6680      03/22/2018      03/26/2018      $8,756.78       Rockville, Maryland
 D.S.        0905      01/19/2018      03/27/2018      $8,518.77       Gaithersburg, Maryland
 R.W.        4436      03/23/2018      03/28/2018      $15,876.92      Rockville, Maryland
 B.T.        7951      03/13/2018      03/28/2018      $25,789.12      Potomac, Maryland
 M.H.        7507      03/14/2018      03/29/2018      $9,256.78       Olney, Maryland
 J.B.        8766      02/16/2018      04/09/2018      $8,958.77       Fredericksburg, Virginia
                                       TOTAL           $389,975.81

       13.     To illustrate, in the above table, on March 5, 2018, D.W. opened Wells Fargo



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account number x7457 with a $50 opening deposit. On March 6, 2018, DAVIS deposited a check

into account number x7457. DAVIS made the fraudulent deposit at a Wells Fargo ATM located at

2901 M Street NW, Washington, DC. DAVIS caused the ATM to jam by placing his fingers on

the scanner. DAVIS then manually entered $35,900.54 as the deposit amount of the check. On

March 6, 2018, Wells Fargo credited $35,900.54 to the account. The deposited check was

ultimately dishonored by the issuing bank.             On March 15, 2018, Wells Fargo reversed the

$35,900.54 credit. However, between March 6, 2018, and March 15, 2018, approximately $35,398

was spent from Wells Fargo account number x7457. These expenditures included approximately

$21,000 in checks written to DLW International Group, LLC, and approximately $13,910 spent at

Maryland Live Casino.

                                                Identification

        14.      I have reviewed Wells Fargo surveillance photographs and closed circuit video

footage that depict the individual making each of the above-referenced deposits. Based on this

review, I believe that the same person initiated all of the deposits. I have compared the pictures

and videos associated with these 24 deposits to DAVIS’s Washington, D.C. driver’s license

photograph. DAVIS appears to be the individual making all of the above-referenced deposits.

        15.      DAVIS is currently on supervised release in case 15-cr-00180 in the Eastern District

of Virginia. I showed surveillance photographs from 11 of the deposits referenced in the above

table to the United States Probation Officer overseeing DAVIS’s period of supervised release. He

confirmed that the individual in those photographs was DAVIS. Three of the photos shown to

DAVIS’s Probation Officer depicted DAVIS creating jams in Wells Fargo ATMs located in

Washington, D.C. 1


        1
           These photos represented DAVIS’s ATM deposits on the following dates, as referenced in the chart in
paragraph 12: (1) February 22, 2018, into account number x2150; (2) February 27, 2018, into account number x3205;

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                                              CONCLUSION

        16.      Based on the foregoing, your Affiant respectfully submits that probable cause exists

to believe that DAVIS has committed Bank Fraud in violation of 18 U.S.C. § 1344. I respectfully

request that the Court issue an arrest warrant for DAVIS.

        The statements above are true and accurate to the best of my knowledge and belief.




                                                              ________________________
                                                              Joshua Huckel
                                                              Special Agent
                                                              Federal Bureau of Investigation


SUBSCRIBED and SWORN to me this 28th day of January, 2019.


___________________________________________
Deborah A. Robinson
United States Magistrate Judge




and (3) March 6, 2018, into account number x0352.

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